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                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF LOUISIANA

DE’JUAN THOMAS                                                             CIVIL ACTION NO.

VERSUS                                                                     17-1595-EWD

SALLY GRYDER, ET AL.                                                       CONSENT CASE

                                    HEARING REPORT AND ORDER

         A telephone hearing was held before Magistrate Judge Erin Wilder-Doomes on November

13, 2020, on the Motion to Reschedule Trial Date, filed by De’Juan Thomas (the “Motion”). 1

         PRESENT:          David J. Lanser                          Phyllis E. Glazer
                           Counsel for Plaintiff,                   Counsel for Defendant,
                           De’Juan Thomas                           Sally Gryder

         The Motion was discussed. Counsel for Defendant advised that she has no objection,

generally, to a continuance of the January 4, 2021 trial date, but wanted to be sure additional

motions would not be filed by Plaintiff. The Court advised that it is the gatekeeper for motion

practice after expired deadlines and that any motion not specifically contemplated to be filed under

the remaining scheduling order deadlines would require leave of court. The Motion will be granted

for good cause, without objection, and an amended notice setting trial and related deadlines issued.

Any expired deadlines, e.g., motions in limine, will not be reset. Counsel for Defendant also

questioned whether the case could proceed by bench trial. The parties shall confer to determine

whether there is agreement to convert the trial to a bench trial.

         IT IS ORDERED that Motion to Reschedule Trial2 is GRANTED for good cause. The

trial is RESET as a 4-day jury trial3 to begin on March 22, 2021.




1
  R. Doc. 130.
2
  R. Doc. 130.
3
  Defendants requested a trial by jury. R. Doc. 46, p. 18.


cv25cT0:15

Jury
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        IT IS FURTHER ORDERED that the final pretrial conference is RESET to February

     12, 2021 at 10:00 a.m. A separate Notice Setting Trial and Related Deadlines will be issued.

       IT IS FURTHER ORDERED that the parties shall confer to determine whether the jury

demand will be withdrawn. By no later than December 18, 2020 the parties shall file either: 1) a

joint stipulation withdrawing the jury demand under Fed. R. Civ. Proc. 38(d); or 2) a notice that

the parties intend to proceed with trial by jury.

       Signed in Baton Rouge, Louisiana, on November 13, 2020.


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                                               ERIN WILDER-DOOMES
                                               UNITED STATES MAGISTRATE JUDGE




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